Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 1 of 8
Case 3:23-CV~-05135-DGE Page 1 of 1

UNITED STATES DISTRICT COURT FILED "LODGED
WESTERN DISTRICT OF WASHINGTON RECEIVED
MAY 17 2023
CLERK US, DISTRICT COURT
Terra Libre Land Trust By WESTERN DISTRICT OF WASHINGTON AT TOON ay

Agent Sterling Jay: Shaw

Air Jurisdiction CASE No.

Plaintiff 3:23-cv-05135-DGE

|
|
|
v. |
| MOTION for ENTRY of DEFAULT
WELLS FARGO NA, D.U.N.S #053098 145 |
|
Defendant |
|

MOTIONS for ENTRY of DEFAULT

Plaintiff, Terra Libre Land Trust, requests that the clerk of court enter default against defendant!
WELLS FARGO NA pursuant to Federal Rule of Civil Procedure 55(a). In support of

this request, plaintiff relies upon the record in this case and the affidavit submitted with this

motion.

Dated this_“7 day of LAY , 2023.

Signed Py Se Jag, | Slaw

Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 2 of 8
HE

on RECEED

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT a ;
forthe UNITED STATES,“ LORNE
Wester District of Washington SEATILE, WASHING

United States of America ) doe
v. ) DEe
, 2 28. Cur OS/3S-
SHANE P. GALE WSBA #57218 ) Case No. 2s
MCCARTHY & HOLTHUS LLP )

WELLS FARGO NA D.U.N.S #053098145 ;

a )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of MAY 16th 2023 in the county of King in the
State Washington District of Western , the defendant(s) violated:
Code Section Offense Description

18 USC 241, 18 USC 242, 18 USC United States Constitution Citation Criminal

245, 18 USC 2331 & 802, 18 USC Compliant for a Common law case breach oath of office and Breach of
2339, 15 USC 1-3, 18 USC 175, 18 Contract.

USC 1001, & 5 USC 3331 Oath of

‘Office,& RCW 43.01.020, 1787

Constitution for the United States of

America & 1878 Constitution of the

demonyn State of Washingtonian.

This criminal complaint is based on these facts:

Pursuant to, Supreme Court rulings and estoppel facts of assigned MERS contract. Which denied full disclosure,
violation of dues process, violation of Marbury V. Madison (1803), and violation of Constitutional guarantees of common

law under contract.

ah Continued on the attached sheet.

Sterling Jay: Shaw
Printed name and title

Sworn to before me and signed in my presence.

Date:
Judge's signature

City and state: TT
Printed name and title
Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 3 of 8

THE LAW HAS ALWAYS BEEN OWN YOUR SIDE - USE IT TO BUILDA BETTER, STRONGER AMERICA.

UNITED STATES CONSTITUTION CITATION
CRIMINAL COMPLAINT

AFFIDAVIT AND BRIEF OF INFORMATION
THE UNITED STATES vs dvcerk Conese ses
“Ere.

(DISTRICT COURT, SUPREME COURT, HOUSE OF REPRESENTATIVES, SENATE JUDICIARY DA). PI
-EOR THE DISTRICT OF (State) SALAS:
IN THE COUNTY OF he,'+ Sap

UNITED STATES OF AMERICA
Case Number
By (Plaintiff(s) / Accuser(s)
Terra 4 bre Zand Tres t B23 CV. OSVIE
sent Sterfag Deys Favs
‘ edt Oh 7 Date
Ay Sew Caen ye
VS. (Defendant(s) / Accused)
ane’. Gale, WSLZA _# c27zis. Citation, Complaint,
MCLot TAG é fo / PSAs Ld Affidavit and Brief of
. information
Points of Law:
, _£ £826 18 USC 4
We //S fas AB, Dern-S #S2OUYS ee oe
U.S. Const.
5th Amend.
Just Comp.
AND ANY UNKNOWN OTHERS. 40% Amend.
48 USC 241,242

All actions required by accusers/plaintiffs of the accused/defendants to avoid the consequences
of this Criminal Complaint must present, in affidavit form, all objections by the defendants and
must be presented within three months (90 days) from the issuance of this Criminal Complaint.
Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 4 of 8

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Com Wa

UNITED STATES ATTORNEY
SEATTLE, WASHINGTON

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON.

Terra Libre Land Trust Case Number: 3:23-cv-05135-DGE

Agent Sterling Jay: Shaw,

Air Jurisdiction Criminal Compliant
In the Form of a
Plaintiff Writ of Habus Corpus

Pursuant to;

VS. Constitutional Common law

Shane P. Gale WSBA #57218
MCCARTHY & HOLTHUS LLP

WELLS FARGO NA, D.U.N.S #053098145

Defendant
Criminal complaint:

The reason for the complaint is that the lower court and Western District Courts
are ignoring the Supreme Court ruling and the Estoppel of facts. ITISA FACT, in this case, that
the “Note” and the “Assignment of Mortgage” was assigned to MERS, as nominee for the original
lender. The separation of the “Note” and the “Mortgage” changes the status of the note from
“secured” too “unsecured”, or as was in this case PAID IN FULL. The Washington State Supreme
Court ruled that MERS isn’t considered a beneficiary under State Law September 3, 2012... thus
the contract is VOID. (Emphasis added)

. Estoppel is an equitable doctrine, a bar that prevents one from asserting a claim or right that
contradicts what one has said or done before, or what has been legally established as true.
Estoppel may be used as a bar to the litigation, re-litigation of issues or as an affirmative
Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 5 of 8

statement of fact. It prevents one party holding another party to “their word or agreement” when
such action is known as a fact in law.

The data provided herein fulfills the “Estoppel Doctrine” requirement. The following notice was
provided to the collection agency... “Should you choose to proceed with any kind of collection or
foreclosure process, including any sale of the property...we will assist this Veteran in filing a
“Commercial Tort Claim” against all the parties who have participated in this title theft, for eight
times the amount, plus fees and damages, as authorized under 42 USC 1983, which states “Any
person who is deprived “of any rights, privileges, or immunities secured by the Constitution and
Laws, by any entity under color of State Law, may bring action to seek redress...”

IT IS A FACT, in this case, that the “Note” and the “Assignment of Mortgage” was
assigned to MERS, as nominee for the original lender. The separation of the “Note” and the
“Mortgage” changes the status of the note from “secured” too “unsecured”, or as was in this
case PAID IN FULL.

Denied Full Disclosure, Violation of Due Process, Violation of required Contractual
Constitutional Oaths & Violation of Our Common Law rights. Wells Fargo and co-conspirers
profited from the unlawful sale of real property at 6703 Philipps Road Port Orchard, Washington,
through the MERS system, The Washington State Supreme Court ruled that MERS isn’t
considered a beneficiary under State Law September 3, 2012... thus the contract is VOID.
(Emphasis added)

3. This case IS BONDED in the amount of $6,400,000.00. The court MUST act as the “pass
through agent, terminating this case permanently, utilizing the bond to pay its expenses
and to pay the remainder to free the property of all liens and encumbrances.

In US BANK, NA v Collymore... “when a mortgage is represented by a bond or other instrument,
an assignment of the mortgage without assignment of the underlying note or bond is a nullity.”

in Landmark National Bank v Kesler... “MERS has no standing to foreclose and is, in fact, a straw
man.” (emphasis added)

4. In Landmark National Bank v Kesler... “MERS has no standing to foreclose and is, in fact,

a straw man.” (emphasis added)

5. The Washington State Supreme Court ruled that MERS isn’t considered a beneficiary
under State Law September 3, 2012... thus the contract is VOID. (emphasis added)

6. In Wilhelm et al.., case no: 08-20577-TLM ruled: “MERS, by its construction, separates
the Deed from the Mortgage.” Thus the “Deed of Trust” is nullified. (emphasis added)

Conclusion and Remedies
The certified cured surety bond amount is §6,400,000.00 (six Million four Hundred Thousand U.S. Dollars

in Lawful Money”), which can be used by this court for remedy of this case.

Terra Libre Land Trust 3965 Bethel Road, #244, Port Orchard, WA 98366

By: ELEY “fry Sw

Sterling Jay“ShaW; Agent —Trustee Without prejudice, all rights reserved.

Bond No, 21-2-01937-18

SURETY BOND
$6,400,000.00

BANK NLA, & AGENTS, QUALITY LOAN SERVICE OF WASHINGTON, MCCALLA R
FARGO HOME MORTGAGE LLC and any Agent thereof.

In RE: to the Matter of: 21-2~01837-18 Terra Libre Land Trust, Agent Sterling Jay: Shaw

This bond is underwritten
Secretary of Treasury

issued, called,
The condition of this bond Is that the

DEPERVATION OF RIGHTS UNDER COLO
person who Is deprived “

USC TITLE 18 CHAPTER 13, 242
NST RIGHTS; 42 USC § 1983, any
y the Constitution and Laws”, by
seek redress”, Such a charge has

Now therefore, Issued Pursuant to, C 68-69; Treaty of Oregon 1846, 22
USC 2657, 22 USC 2651a, 5 USC301, . . f), RULE 44 Federal Rules of Civil
Procedures, Public Law. If the said
Said county of Affairs,
force and effect. | am

STATE OF WASHINGTON BY order of;

COUNTY OF KITSAP
| DAVES T, Sterna Jay Shaw

Sniilad County regoing 7

inetrument ig 4 copy of the’ origiial” eels Shaw, Surety/Underwrit

neat On fils . { -2- . ~

i y Ad AS sinca fede xemption ID #24 2-01837-18 :

the skal of Pio S : 30 In care of; Sterling Jay: Shaw ‘
Wil Vie | —

MOUNTRGLER <P.0. Box 213 Woodinville, WA [98072] >». °

arpa

1

eS

VV /Y) Non-domestic without the United States
Depuy

EREOF, the Signatory te this bond does

hereby ayfix his respective hand and seal on this ist dav of July month in the
year of our Lord two thousand and Twenty-tiwenty:

Saber tra ye este

i ea seers, Sd

Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 7 of 8

DD Form 2765 Benefits

The document provides access to a variety of benefits and services. These include legal
assistance, Tricare, use of welfare and morale activities, education benefits, commissaries, etc.
Eligibility for these privileges is usually limited to the categories of current and retired service
members described above.

ROTHORUED PATRONAGE i
| EXCHANGE MWR
COMMISEARY

Case 3:23-cv-05135-DGE Document 14 Filed 05/17/23 Page 8 of 8

UNITED STATES DISTRICT COURT for the WESTERN DISTRICT OF WASHINGTON - TACOMA

Plaintiff / Petitioner: Case No:

Terra Libre Land Trust On behalf of Goulet Property Estate Sterling Jay 3:23-cv-05135-DGE

Shaw, Agent-Trustee

Defendant / Respondent: DECLARATION OF SERVICE
WELLS FARGO BANK N A WELLS FARGO HOME MORTGAGE LLC PREMIERE

ASSET SERVICES Kris Huber, Windermere RE West Campus

The undersigned, being first duly sworn on oath deposes and says: That he/she is now and at all times herein
mentioned was a citizen of the United States, over the age of eighteen years, not a party to or interested in the above
entitled action and competent to be a witness therein.

That on Wed, Mar 15 2023 at 10:26 AM, at the address of 1 HOME CAMPUS - F2303-01D FL 01, within DES MOINES, IA, the
undersigned duly served the following document(s}: Compliant for RICO , Breach of Contract in the above entitled
action upon WELLS FARGO HOME MORTGAGE, by causing to be deposited 1 true copy(ies) of the same in the United
States Mail at Tacoma, WA, first class mail in an envelope property addressed to WELLS FARGO HOME MORTGAGE at the
address stated, with adequate postage affixed thereon.

Description:
WELLS FARGO HOME MORTGAGE
Documents mailed to Defendant from Tacoma Main Post Office at 1102 A St, Tacoma, WA 98402

i declare under penalty of perjury under the laws of the State of Washington that the foregoing is true and correct

7 Fi
i ie fe 03/15/2023
Shane Renecker PIERCE 25976 Date

Northwest Legal Process, LLC
1910 4th Ave E Suite 34
Olympia, WA 98506
360-810-8009

